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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MARLENE ALOE, 18-CV-6090 (VSB)

DECLARATION OF
Plaintiff, PAMELA S. ROTH IN
SUPPORT OF
PLAINTIFF’S
-against- MOTION FOR
SUMMARY
JUDGMENT PURSUANT
THE CITY OF NEW YORK and CORRECTION OFFICERS TO FED. R. CIV. P. 56
“JANE DOES #1-5” Correction Officers as yet unidentified
in their official and individual capacities,

Defendants.

x

 

PAMELA S. ROTH, an attorney duly admitted to practice in the State of New York,
declares under penalty of perjury and pursuant to 28 U.S.C. Section 1746, that the following is
true and correct:

1. I am the attorney of record for the plaintiff herein. As such, I am familiar with the
facts and circumstances herein. I submit this declaration to support Plaintiff’s Motion for
Summary Judgment pursuant to Rule 56 of the Federal Rules of Civil Procedure.

oe Plaintiff had requested an extension of time to amend the complaint to substitute
the name of the Jane Doe correction officer and had discussed it with defense counsel. The name
was submitted to defense counsel and she claimed that no such correction officer was employed
by the City of New York and the New York City Department of Correction as the spelling of the
Correction Officer was “incorrect” as given as “Deidre Marshall”. Defense counsel claims it was

not correct as spelled. It was later determined the correct spelling to “Diedre Marshall”.
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3. Plaintiff requested an extension of time to depose “Diedre Marshall” and the
request was denied.

4. The City of New York has known of the numerous and abundant cases filed
against the City of New York and the New York City Department of Correction of women
visitors improperly forced into a bathroom, without camera surveillance, and forcibly invasively
strip searched, sexually assaulted, and sexually fondled by one and more female Correction
Officers employed by the City of New York.

5. There is a pervasive pattern of abuse by the City of New York and the New York
City Department of Correction to cover up the abusive practices of its employees in the forcible
practice of unlawful body cavity searches of female visits to the jails within the confines of the
City of New York, and more specifically here at Rikers Island, which occurred on November 18,
2016.

6. The complaint herein was timely filed asserting 42 U.S.C Section 1983 claims for
violations of plaintiff’s civil rights and state claims.

7. Plaintiff appeared for her deposition on September 17, 2019.

Dated: Brooklyn, New York fo ~*~ fo
March 2, 2020 / \ i i} / }

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\ LAW OFFICE OF PAMELA S. ROTH, ESQ. P.C.
\._ Attorney for Plaintiff
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By; [| Lf AY Lil NA
Cass jeppela NaC Esq,

James E. Johnson

Corporation Counsel of the City of New York
Attorney for Defendant City of New York
100 Church Street, Room 3-204

New York, New York 10007

(212) 356-5055

Attn: Katherine J. Weall, Senior Counsel
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18-CV-060909 (VSB)

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

MARLENE ALOE,

Plaintiff,
against
THE CITY OF NEW YORK and CORRECTION OFFICERS

“JANE DOES #1-5” Correction Officers as yet unidentified
in their official and individual capacities,

Defendants.

 

PLAINTIFF’S DECLARATION

 

LAW OFFICES OF PAMELA S. ROTH, ESQ. P.C.
Attorneys for Plaintiff
MARLENE ALOE
Office & Post Office Address
2747 Coney Island Avenue
Brooklyn, New York 11235
(888) 466-4884

 

Pursuant to 22 NYCRR 130-1.1, the undersigned, afi ‘attomhey duly adn nitfed yore law in the State of New York,
certifies that, upon information and belief based’ upon reasgnable ifn pe copfentions contained in the annexed

document are not frivolous. / / /) / /o™ J

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Dated: 3 bf; / 1 Signature: if /V (iL if — 4ST ww

 

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Print Signér’s Name: f :

Service of a copy of the within * is hereby admitted
Dated,

 

Attorney(s) for *
